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                   EXHIBIT C

        Plaintiff’s Motion for an Award of Attorneys’ Fees and Costs

   Citizens for Ethics and Responsibility in Washington v. Dep’t of Justice,
                           Civ. No. 11-0374 (CRC)
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CITIZENS FOR RESPONSIBILITY
AND ETHICS IN WASHINGTON,

                       Plaintiff,

               v.                                     Civil Action No. 11-754 (GK)

DEPARTMENT OF JUSTICE,

                       Defendant.

                          MEMORANDUM OPINION AND ORDER

        Plaintiff Citizens for Responsibility and Ethics in Washington ("CREW") filed a Motion for

Attorneys' Fees and Costs [Dkt. No. 55], Defendant filed an Opposition [Dkt. No. 57], and Plaintiff

filed a Reply [Dkt. No. 58]. Upon consideration of the arguments made by counsel and the

applicable case law, the Court concludes that the Motion shall, in large part, be granted.

I.     INTRODUCTION

       On January 24, 2011, Plaintiff submitted identical FOIA requests to DoJ component

agencies, the Federal Bureau of Investigation ("FBI"), the Executive Office for the United States

Attorneys ("EO USA"), and the Criminal Division of DoJ ("CRM"). Each of the three requests

sought "all records related to investigations conducted by DoJ and the FBI ofRep. Don Young (R-

AK) that are not covered by grand jury secrecy ... including but not limited to DoJ's decision not

to bring criminal charges against him." [Dkt. No. 10-2].

       On January 25, 2011, the FBI issued its response to Plaintiffs FOIA request. Id. ,-r 9. The

EOUSA responded on February 1, 2011, and the CRM responded after the filing of the present

litigation. Without conducting a search for the requested documents, all three entities categorically
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denied Plaintiffs request pursuant to FOIA Exemptions 6 and 7(C). Df. Stmt. of Facts, ~~ 2, 9;

Declaration of Kristin Ellis ("Ellis Decl.") [Dkt.. No. 10-3]. As stated in the FBI's denial:

               You have requested records concerning a third party.... Records
               pertaining to a third party generally cannot be released absent express
               authorization and consent of the third party, proof that the subject of
               your request is deceased, or a clear demonstration that the public
               interest in disclosure outweighs the personal privacy interest and that
               significant public benefit would result from the disclosure of the
               requested records. Since you have not furnished a Certificate of
               Identity form, proof of death, or public justification for release, the
               release records concerning a third party would result in an
               unwarranted invasion of personal privacy and would be in violation
               of the Privacy Act, 5 U.S.C. § 552a. These records are also generally
               exempt from disclosure pursuant to section (b)(6) and (b)(7)( C) ofthe
               Freedom oflnformation Act, 5 U.S.C. § 552.

               If requested, we will conduct a search for any public records
               maintained in our files, such as court records and news clippings,
               without express authorization of the third party, proof of death, or
               public justification for release provided the subject is of sufficient
               notoriety.

       On April 21, 2011, CREW brought this case under the Freedom of Information Act

("FOIA"), 5 U.S.C. § 552, seeking the disclosure of records maintained bytheDepartmentofJustice

regarding its investigation of alleged bribery and other legal conduct by U.S. Representative Don

Young [Dkt. No. 1].

       On August 4, 2010, Congressman Young's office had issued a press release stating that the

Department ofJustice had concluded its investigation and declined prosecution ofthe Congressman.

This investigation, which came to be known as the"Coconut Road Earmark investigation," stemmed

from Congressional action in 2008 directing DoJ to investigate the allegations against Rep. Young.




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See Safe, Accountable, Flexible, Effective Transportation Equity Act:           A Legacy for Users

("SAFETEA-LU") Technical Corrections Act of2008, Pub. L. 110-244, § 502, 122 Stat. 1572. 1

        In a Memorandum Opinion issued January 10, 2012, the Court denied DoJ's Motion for

Summary Judgment and granted Plaintiffs Cross-Motion for Partial Summary Judgment [Dkt. No.

20]. The Court rejected the Defendant's contention that it was not obligated to search for responsive

records or make a particularized showing as to its exemption claims and directed DoJ to file Vaughn

Indexes describing any withheld responsive records. Id. at 236. Thereafter, DoJ identified and

released a substantial amount of information concerning its investigation ofRepresentative Young.

II.     LEGAL STANDARD FOR GRANTING ATTORNEYS' FEES IN FOIA CASES

        To obtain attorneys' fees under FOIA, a plaintiffmust satisfy two requirements. First, it must

be eligible for fees, thus requiring that it "substantially prevail" as defined by 5 U.S.C.

§ 552(a)(4)(E)(ii). Second, an eligible plaintiff must then demonstrate that it is entitled to the fees

it seeks. See Cotton v. Heyman, 63 F.3d 1115, 1117 (D.C. Cir. 1995). There is no question that

Plaintiff has "substantially prevail[ed]" in this case and, is, therefore, eligible for payment of its

attorneys' fees.

        Our circuit has long applied a multi-factor standard for evaluating whether a plaintiff who

is eligible for attorneys' fees is also entitled to its fees. See,~, Nationwide Bldg. Maint., Inc. v.

Sampson, 559 F.2d 704,712,714 (D.C. Cir. 1977). Four non-exclusive factors typically govern the

entitlement inquiry: "(I) the public benefit derived from the case; (2) the commercial benefit to the

plaintiff; (3) the nature of the plaintiffs interest in the records; and (4) the reasonableness of the



       1
        See Citizens for Responsibility and Ethics in Washington v. Dep 't of Justice, 840 F. Supp.
2d 226,231-32 (D.D.C. 2012), for a more detailed recitation of the underlying facts.

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agency's withholding" oftherequesteddocuments. Tax Analysts v. Dep'tofJustice, 965 F.2d 1092,

1093 (D.C. Cir. 1992); see Dayy v. CIA, 550 F.3d 1155, 1159 (D.C. Cir. 2008). In practice, the

Circuit "has often combined the second and third factors into a single factor assessing whether a

plaintiff has 'sufficient private incentive to seek disclosure' ofthe documents without expecting to

be compensated for it." McKinley v. Fed. Housing Finance Agency, 739 F.3d 707, 711 (D.C. Cir.

2014) (quotation and citation omitted).

        A.      Public Benefit

        The first factor requires consideration ofthe significance of the contribution that the released

information made to the fund of public knowledge. See Cotton, 63 F.3d at 1122. Release ofthe

documents in this case meets that test.

        After the documents were released, there was substantial public interest in their contents.

The information was widely disseminated, including stories or articles in the Anchorage Daily News,

the New York Times, the Alaska Dispatch, New York Magazine, and Associated Press outlets. See

Dkt. No. 55, Exhs. A-D. CREW itself produced and published an extensive report discussing the

contents of the documents and what it believed they revealed about the Department of Justice's

handling of official corruption investigations. Moreover, this report was posted on Plaintiffs web

site giving the public access to every page. The disclosures Dol made, and the media interest which

ensued, were directly traceable to the litigation Plaintiff brought in this case.

       B.       Commercial Benefit to the Plaintiff and the Nature of Plaintiff's Interest in the
                Records

       As to the second and third factors requiring consideration, the Government concedes that

there is no "commercial benefit" to the Plaintiff. See Dayy, 550 F.3d at 1159 (quoting Tax



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Analysts, 965 F .2d at 1093). As our Court of Appeals said recently in McKinley, "[t]he second and

third factors, considered together, address whether the plaintiff had a 'sufficient privacy incentive'

to pursue his FOIA request even without the prospect of obtaining attorneys' fees." McKinley, 739

F.3d at 712 (quoting Dayy, 550 F.3d at 1160). There is no record evidence to suggest this was not

the case in this instance. In short, the Government does not seriouslY, question that factors two and

three justify payment of Plaintiffs fees, and made no challenge to the appropriateness of the nature

of the Plaintiffs interest in the records.

        C..     Reasonableness of the Government

        What is very much in dispute is the fourth and final factor requiring consideration of

"whether the agency opposition to disclosure had a reasonable basis in law" and "whether the agency .

had not been recalcitrant in its opposition to a valid claim or otherwise engaged in obdurate

behavior." McKinley, 739 F.3d at 712 (quoting Dayy, 550 F.3d at 1162) (internal quotations marks

omitted). DoJ argues very strongly that it had a reasonable basis in law for withholding the materials

that were ultimately released and, therefore, Plaintiff is not entitled to the full ~ward of the fees it

seeks because, at the time the deCisions were made, those decisions were reasonable and had a

substantial basis in governing law.

        Defendant contends that "(a) the agencies had a colorable basis for relying on FOIA

Exemption 6 and 7(C) to deny Plaintiff access to the requested materials, based on a balancing of

the relevant individual privacy right against the public interest in disclosure and (b) in light of

authority from this Circuit, the result ofthe balancing test, and limited agency resources, the agencies

had a reasonable legal basis not to search for the requested law enforcement records." Def. 's Opp'n

at 8. Defendant argues that it weighed the relevant individual privacy rights of Congressman Young


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against the public interest in disclosure, and also considered the results of the balancing test and its

limited resources.

        However, while Defendant is correct that it did cite applicable case law from this circuit to

support its position, Def.'s MSJ at 20-21 ; Def.'s Reply at 16-17, the facts compel a different

conclusion than those reached in cases cited by the Government--namely, that the Defendant's

decision to withhold the documents-- in the context of this case-- was in fact unreasonable. As this

Court held in its Memorandum Opinion on the merits:

                 It is difficult to understand how there could not be a substantial public
                 interest in disclosure of documents regarding the manner in which
                 DoJ handled high profile allegations of public corruption about an
                 elected official. Clearly, the American public has a right to know
                 about the manner in which its representatives are conducting
                 themselves and whether the government agency responsible for
                 investigating and, if warranted, prosecuting those representatives for
                 alleged illegal conduct is doing its job.

840 F. Supp. 2d at 234. The Court continued:

                 In addition to the widespread public interest in this country at this
                 time in holding its Government accountable, we have the added, and
                 decidedly uncommon fact in this case, that Congress passed a specific
                 piece of legislation ... directing DoJ to conduct an investigation of
                 all "allegations of impropriety regarding [the Coconut Road earmark]
                 to ascertain if a violation of Federal criminal law has occurred." ...

                 Given the fact that Rep. Young was at that time Chair of the House
                 ofRepresentatives Transportation Committee, and given the detailed
                 remarks he made on the floor of the House of Representatives about
                 this matter, there is a substantial public interest in examining the
                 adequacy of DoJ's enforcement of other types of law governing the
                 activities offederal officials, in addition to the explicit direction given
                 by Congress to DoJ to investigate the Coconut Road matter.

Id. at 234-35.




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           It should be noted that in its opening brief on the merits, DoJ took the position that there was

no public interest in the requested records. Memo ofP. & A. in Support ofDef.'s Mot. for Summ.

J. at 11 [Dkt. No. 10]. Despite the fact that DoJ certainly knew that its investigation was mandated

by enactment of the highly unusual Congressional legislation, it still persisted in arguing that

Plaintiff "fail[ed]. to identify any cognizable public interest" and has "no valid public interest to

point to." Def. 's Opp'n to Pl.'s Cross-Mot. for Partial Summ. J. and Reply to Pl.'s Opp'n to Def. 's

Mot. for Summ. J. ("Def. SJ Reply") at 1-2 [Dkt. No. 13].                  This conclusion was plainly

unreasonable. It is particularly hard to take seriously given the fact that, during the period of time

in question, Representative Young was Chair of the House of Representative Transportation

Committee, and presented detailed remarks on the House floor about the Coconut Road Earmark

project.

           In short, even though there was relevant case law from our Court of Appeals focusing on the

need to protect the privacy of individuals, none ofthe cases cited by Defendant presented a factual

situation where a respected Congressman, Chair of a powerful House ofRepresentatives ColTiliiittee,

was being investigated by the Defendant about allegations of bribery-- at the specific command of

Congress.

       Although this Court ruled that Representative Young had a cognizable, albeit diminished,

privacy interest in the requested documents, it also ruled that "those very important principles of

privacy have far less force in this case because the information-- namely, the fact that DoJ conducted

an investigation of acts involving Representative Young-- is already a matter of public record." 840

F. Supp. 2d at 233. It was a matter of public record because, back in 2008, when the House of

Representatives was considering passage of the bill ordering DoJ to investigate the Coconut Road


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project, Congressman Young spoke on the floor of the House, acknowledging that he had "been the

subject of much innuendo concerning [his] intent and motivation of this project [referring to the

Coconut Road earmark]." Id. at 23 3 (citation omitted). In addition, at the time of Plaintiffs request,

"Representative Young [had] himself confirmed in a press release issued by his Congressional office

that there had been an investigation into his activities[.]" Id. As this Court ruled earlier,"[ o]ne can

have no privacy interest in information that is already in the public domain, especially when the

person asserting his privacy is himself responsible for placing that information into the public

domain." Id. 2

        In other words, despite the fact that there was relevant case law regarding the importance of

protecting the privacy rights of individuals, DoJ knew at the time of Plaintiffs request that the

Congressman had already given up that privacy right by discussing the subject on the floor of the

House of Representatives and issuing his own press release that he was not going to be prosecuted.

Based on the specific facts of this case, the Court concludes that the decisions made by the

Government to withhold the requested documents were not reasonable. Therefore, the Plaintiff is

"entitled" to a fee award. Dayy, 550 F.3d at 1162. 3




       2
          The Government relies on the fact that the Court did not conclude in its earlier Opinion that
Defendant's position lacked a reasonable basis in law. Opp'n at 11. However, at that stage of the
litigation, there was no need to make such a ruling.
       3
          The Court wishes to emphasize that Defendant is not contesting that Plaintiff is eligible for
a partial award of fees. Def.' s Opp. at 6.

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III.    FEE CALCULATIONS

        A.      Hourly Rates

        The Government argues that any attorneys' fees paid to Plaintiff should be based upon the

U.S. Attorney's Office ("USAO") Laffey Matrix, updated by its Civil Division. Plaintiff, on the

other hand, requests compensation for its legal work pursuant to the Laffey Matrix, but updated by

application of the Legal Services Index ("LSI") component ofthe National Consumer Price Index

("CPI").

        As Plaintiff has noted, this Court has, for many years, accepted the appropriateness of and

greater accuracy of rates based on the LSI Index. See,~. Salazar v. District of Columbia ("Salazar

I"), 123 F. Supp. 2d 8, 11-15 (D.D.C. 2000); Smith v. District of Columbia, 466 F. Supp. 2d 151,

156 (D.D.C. 2006); Salazar v. District of Columbia ("Salazar II"), 750 F. Supp. 2d 70, 73 (D.D.C.

2011); see also Interfaith Cmty. Org. v. HoneywelL Int'l, Inc., 726 F.3d 403,414-16 (3d Cir. 2013)

(affirming district court's "use of the LSI-updated Laffey Matrix to determine the prevailing rates

in the Washington, D.C. market.").

        DoJ opposes use of this version of the Laffey Matrix for two reasons: first, that CREW has

specifically endorsed use of the lower rates of the USAO Laffey Matrix in recent FOIA attorneys'

fee litigation calculating hourly rates for fee awards, and, second, basically, to save money. The fact

that Plaintiff chooses to now request that its fees be based on the Laffey Matrix measured by the

Legal Services Index of the CPI, has nothing to do with whether its former requests in other cases

were justified or not.

        This Court has concluded over a period of at least 14 years that the methodology which is

based on the Legal Services Index of the CPI is far more accurate and pinpointed than USAO's


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methodology which is based on the All Items CPI for the Washington, D.C. area. Most recently,

Judge Howell ofthis District Court wrote an extremely detailed and scholarly opinion demonstrating

how much more accurate the Laffey Matrix measured by the LSI is than if measured by the All Items

CPl. Eley v. District of Columbia, No. 11-309, 2013 WL 6092502, at *7-*12 (D.D.C. Nov. 20,

2013). Thereafter, this Court issued another opinion in Salazarv. District of Columbia, No. 93-452,

2014 WL 307484, at 7 (D.D.C. Jan. 28, 2014), reiterating that it "remains convinced that this

methodology is appropriate." Id. at 8.

        As this Court noted in its recent Salazar opinion, the extensive analysis in Eley pointed out

that

               [C]onsidering that Washington, D.C. is among the most expensive
               legal services markets in the country, ... it would appear that the use
               of a nationwide legal service index is, if anything, likely to
               underestimate the costs of local legal services because such a rate is
               an average of all costs nationwide. In short, the LSI-adjusted matrix
               is probably a conservative estimate of the actual cost oflegal services
               in this area, but at the very least it appears to be a more accurate
               reflection of the cost of legal services both in this community and
               nationwide.

Id. at *2 (quoting Eley, 2013 WL 6092502, at *10) (emphasis in original). The Court has seen no

evidence to change its mind. Significantly, DoJ offers no opposition that even attempts to challenge

the accuracy of the LSI methodology. 4 The Court continues to believe that the LSI Methodology is




       4
          Plaintiff points out that DoJ's own expert, Dr. Laura A. Malowane, has given inconsistent
opinions concerning the calculation of attorneys' fees in the District of Columbia market. See Briery
v. United States, 2012 U.S. Claims LEXIS 1445, at 21 (Fed. Cl. Nov. 27, 2012). In that case before
the Court of Federal Claims, Dr. Malowane testified that "the national rates of plaintiffs' attorneys
[$705-706 per hour] are in line with market rates." Id. Those hourly rates are also compatible with
the rates produced by use of the LSI Methodology.

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a more accurate and reliable indicator of prevailing market rates in this area and, therefore, applies

that methodology to the present case.

        B.     Fees Requested

       Plaintiff seeks a total award of attorneys' fees in the amount of $75,165. Of that amount,

work on the merits ofthe litigation covered 67.5 hours, amounting to a request for $56, 199; Plaintiff

also seeks an award of"Fees on Fees" consisting of24.6 hours amounting to $18,966; and Plaintiff

seeks an award of $1.150 in costs.

       The Government argues that Plaintiffs request should be drastically cut to $7,873.60 for its

work on the merits of its FOIA request, all fees for "Fees on Fees" should be denied, and fees and

expenses should be reduced to $3,386.40 which represents work done after Defendant submitted its

Offer of Judgment. The Government also argues, "additionally and alternatively," that there should

be a 20 percent discount in Plaintiffs request because it failed to demonstrate that its hours were

reasonable, and that it has vastly overbilled. The Court disagrees with both arguments.

       First, contrary to the Government's argument, Plaintiffs counsel, Ms. Wisemann, did in fact,

as required, maintain contemporaneous time records describing the work she performed. Her

Affidavit indicates that she kept daily time sheets and separate notes with specifics of the hours

which were devoted to distinct activities, such as drafting the Complaint, drafting and preparing

memoranda related to the parties' motions, and reviewing the agency's disclosures to assess

compliance with the Court's decision.

       InAmericanPetroleumlnstitutev. EPA, 72F.3d907, 916 (D.C. Cir. 1996), our Circuit noted

that "[d]eciding what is a reasonable amount of time to spend on motions is an imprecise

undertaking[.]" But, the Court pointed out that "[b]ased on the motions filed and [the Court's]


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familiarity with the issues of the case," the reasonableness oftime devoted to particular tasks can be

assessed. Id. This Court concludes, after examining the documents submitted by Plaintiff detailing

the work of the two lawyers who participated in this litigation, that the presentation was sufficiently

detailed and clear to overcome Defendant's argument that they were inadequate. 5

        The Government also complains about fees sought for time spent during the administrative

stage of this case. Plaintiff billed 3.8 hours which the Court agrees were clearly necessary to

determine the degree to which DoJ had complied with the Court's Order concerning preparation of

Vaughn Indexes and whether a challenge to the agency's compliance was necessary. Plaintiff

determined that no such follow up was called for. The fact that no follow up was made, certainly

does not establish that those 3.8 hours should not be compensated.

       The Government also asks that Plaintiff be denied any fees for entries in which tasks were

grouped together-- a practice usually identified as "block billing." In National Ass'n of Concerned

Veterans v. Sec. ofDefense, 675 F.2d 1319, 1327 (D.C. Cir. 1982), the Court of Appeals noted that

the "better practice is to prepare detailed summaries based on contemporaneous time records

indicating the work performed by each attorney for whom fees are sought." Id. Ms. Wisemann's

Declaration clearly states that she derived her calculation of hours from a review of her "daily time

sheets." Clearly a "daily" time record is a "contemporaneous" one. 6 Therefore, the Court concludes

that the grouping of certain tasks was "sufficiently detailed to permit the district court to make an

independent determination whether or not the hours claimed are justified."


       5
          It should be noted that Ms. Wisemann claimed only 8.8 hours of work on the substantive
filings and only 1.5 hours on the Fees on Fees petition.
       6
           It would appear that the only block billing that the Government is even concerned about
relates to the 8.8 hours that Ms. Wisemann worked on the substantive aspects of the case.

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         The Government takes a number of pages to argue for various specific reductions, such as

1.2 hours should be reduced by 0.6 hours, that 2.2 hours should be reduced to 1.2 hours, that 2.4

hours should be reduced to 1.4 hours, etc. This is precisely the kind of"nit-picking" which a District

Court should avoid countenancing in assessing claims for attorneys' fees. Id. at 1338. In addition,

a defendant should not be wasting everyone's time by challenging requests for such ridiculously

small amounts of money.

        The Government also asks that the Court discount the entire award by at least 20 percent in

light of the reasonableness of its initial withholding decision. Given the fact that the Court has

already ruled that the Government's withholding decisions in the context of this particular factual

situation were not reasonable, no across-the-board reduction of20 percent in Plaintiff's fee request

is justified.

        The Government also objects to Plaintiff's request for a "Fees on Fees" award, and asks the

Court to deny Plaintiff all fees incurred after Defendant served its Offer of Judgment under Rule 68,

including any fees incurred in connection with this Motion. There is no justification for refusing to

grant the "Fees on Fees" request, which is commonly granted in this type of litigation. Electronic

Privacy Info. Ctr. v. Dep't of Homeland Sec., No. 11-2261, 2013 WL 6047561, at *5 (noting that

district courts in this Circuit have granted "fees on fees" in FOIA litigation "without hesitation.").

However, the Court does agree with the Government that the 24.6 hours, amounting to $18,966, for

completion of the "fees on fees" request by lawyers as experienced as the two lawyers in this case,

is somewhat excessive and the Court will reduce that amount by 10 percent.




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IV.     CONCLUSION

       For all the reasons discussed, the Court concludes that Defendant's conduct in withholding

the requested documents was unreasonable, that Plaintiff is entitled to the bulk of the fees it has

sought, and that Plaintiffs fee request submissions were sufficiently detailed for this Court to

determine whether they were reasonable or not. Consequently, the Court grants Plaintiffs Motion

for an Award of Attorneys' Fees and Costs. Parties should submit a final Order consistent with the

ruling of the Court.




August 4, 2014
                                                 ~~~~
                                             Gladys Kessler ·
                                             United States District Judge

Copies via ECF to all counsel of record




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